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              EXHIBIT B




                          EXHIBIT B
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From: Nan Alessandra (1297)
Sent: Monday, December 2, 2019 2:54 PM
To: 'Samuel Josephs' <sam@spertuslaw.com>
Cc: Ellie Schilling <Ellie@semmlaw.com>; Ian Atkinson <Ian@semmlaw.com>; Lindsey Hay <lhay@spertuslaw.com>; Kim
Boyle (1790) <Kim.Boyle@phelps.com>; Boyd, Howard T (hboyd1@tulane.edu) <hboyd1@tulane.edu>
Subject: RE: Doe v. Tulane
Importance: High

Sam,

In response to the deposition dates we had proposed for the week of December 9th, you proposed depositions
during the week of December 16th instead. In that regard, we have checked again with those individuals you
wish to depose and the following deposition schedule has been revised per each person’s limited availability:

December 16th Chris Zacharda
December 17th Dawn Broussard(until 3:30 per DB prior schedule. Note: we will need to start this deposition
early as Ms. Broussard needs a firm stop time at 3:30 and is not available December 19th or 20th).
December 18th Lex Brickner in NC(this is the date she is available so please confirm if this is going forward
since the deposition would need to be facilitated in NC)
December 19th Meredith Smith

This will confirm that the appeal panel members will be deposed along with Avery Pardee will be deposed on
December 12th and December 13th.

I understand you will be working with Debra Fischman on scheduling the deposition of Jane Roe and I also
understand you want to depose Dorsey Ensor.

Please confirm the deposition scheduling since it will impact the scheduling of all involved, particularly the
deponents who are making them available within limited date range.

Thanks,

Nan

_____________________________
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immediately by replying to this message, then delete the e-mail and any attachments from your system. Thank you.




From: Samuel Josephs <sam@spertuslaw.com>
Sent: Sunday, December 1, 2019 6:58 PM
To: Nan Alessandra (1297) <Nan.Alessandra@phelps.com>; Kim Boyle (1790) <Kim.Boyle@phelps.com>; Howard T Boyd
<hboyd1@tulane.edu>
Cc: Ellie Schilling <Ellie@semmlaw.com>; Ian Atkinson <Ian@semmlaw.com>; Lindsey Hay <lhay@spertuslaw.com>
Subject: Doe v. Tulane

Nan and all:


Hope everyone had an enjoyable Thanksgiving. We are available for a meet and confer call tomorrow, Monday, at 5pm
CST. Let us know if that works for you.

As to scheduling issues, we agree to the deposition schedule that you propose for December 12 and 13 so please
schedule Alicia Domangue, Jamieka C. Greer, Julia Hankins, and Avery Pardee for those dates. As to the others, as we
previously discussed with you and pursuant to the schedule that we agreed upon and that the Court adopted, we are
not able to take the depositions of Chris Zacharda, Dawn Broussard, or Meredith Smith prior to the week of December
16, by which time we anticipate having a decision from Judge Wilkinson on the parties’ motions to compel. Please let us
know when these individuals are available during the week of December 16 as we previously discussed.

With respect to Ms. Ensor, we would very much like to be sensitive to her schedule rather than simply noticing a date to
depose her by way of a subpoena, so we would once again request your assistance in facilitating her
deposition. Otherwise, we plan to notice her deposition for early in the week of December 9. We will work with Ms.
Fischman on a mutually agreeable date for Ms. Kheirolomoom’s deposition. As you know, Ellie has already been in
touch with her and we hope to hear back from Ms. Fischman with a date shortly.

Thanks very much. Please let us know about your availability for a call tomorrow at 5.

Best,
Sam

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